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11

12                           UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                No. CR 23-47-JLS

15              Plaintiff,                    [PROPOSED] PROTECTIVE ORDER
                                              REGARDING DISCOVERY CONTAINING
16              v.                            PERSONAL IDENTIFYING INFORMATION,
                                              MEDICAL INFORMATION, PRIVACY ACT
17 THOMAS VINCENT GIRARDI and                 INFORMATION, AND COOPERATING
   CHRISTOPHER KAZUO KAMON,                   WITNESS INFORMATION
18
             Defendants.
19
20

21         The Court has read and considered the government’s Ex Parte
22   Application for a Protective Order Regarding Discovery Containing
23   Personal Identifying Information, Medical Information, Privacy Act
24   Information, and Cooperating Witness Information, filed in this
25   matter on March 13, 2023, and Defendant THOMAS VINCENT GIRARDI’s
26   Opposition, filed on March 17, 2023, and the Government’s Reply
27   filed on March 20, 2023, and FOR GOOD CAUSE SHOWN the Court hereby
28   FINDS AND ORDERS as follows:
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 1         1.    The government’s discovery in this case relates to

 2   defendants’ alleged crimes, that is, violations of 18 U.S.C. § 1343

 3   (wire fraud).

 4         2.    A protective order for the discovery is necessary so that

 5   the government can produce to the defense materials regarding

 6   cooperating witnesses who participated in the government’s

 7   investigation and who may testify at trial.          Because these materials

 8   could be used to identify the confidential informants or cooperating

 9   witnesses, the Court finds that the unauthorized dissemination or

10   distribution of the materials may expose him or her to potential

11   safety risks.

12         3.    A protective order for the discovery is also necessary so

13   that the government can produce to the defense materials containing

14   third parties’ PII, including materials related to at least one of

15   the defendant’s medical information.         The Court finds that

16   disclosure of this information without limitation risks the privacy

17   and security of the information’s legitimate owners.            The medical

18   information at issue may also be subject to various federal laws

19   protecting the privacy of medical records, including provisions of

20   the Privacy Act, 5 U.S.C. § 552a; provisions of 45 C.F.R.

21   §§ 164.102-164.534; and/or provisions of 42 U.S.C. § 1306.             Because

22   the government has an ongoing obligation to protect third parties’

23   PII, including individuals’ medical information, the government

24   cannot produce to defendants an unredacted set of discovery

25   containing this information without this Court entering the

26   Protective Order.     Moreover, PII and medical information make up a

27   significant part of the discovery in this case and such information

28   itself, in many instances, has evidentiary value.           If the government

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 1   were to attempt to redact all this information in strict compliance

 2   with Federal Rule of Criminal Procedure 49.1, the Central District

 3   of California’s Local Rules regarding redaction, and the Privacy

 4   Policy of the United States Judicial Conference, the defense would

 5   receive a set of discovery that would be highly confusing and

 6   difficult to understand, and it would be challenging for defense

 7   counsel to adequately evaluate the case, provide advice to

 8   defendants, or prepare for trial.

 9         4.    An order is also necessary because the government intends

10   to produce to the defense materials that may contain information

11   within the scope of the Privacy Act, 5 U.S.C. § 552a (“Privacy Act

12   Information”).     The Court finds that, to the extent that these

13   materials contain Privacy Act information, disclosure is authorized

14   pursuant to 5 U.S.C. § 552a(b)(11).

15         5.    The purpose of this Protective Order is therefore to

16   (a) allow the government to comply with its discovery obligations

17   while protecting this sensitive information from unauthorized

18   dissemination, and (b) provide the defense with sufficient

19   information to adequately represent defendants.

20         6.    Accordingly, the discovery that the government will

21   provide to defense counsel in the above-captioned case will be

22   subject to this Protective Order, as follows:

23               a.    As used herein, “CW Materials” includes any

24   information relating to a cooperating witness’s prior history of

25   cooperation with law enforcement, prior criminal history,

26   statements, or any other information that could be used to identify

27   a confidential informant or cooperating witness, such as a name,

28   image, address, date of birth, or unique personal identification

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 1   number, such as a Social Security number, driver’s license number,

 2   account number, or telephone number.

 3               b.    As used herein, “PII Materials” includes any

 4   information that can be used to identify a person, including a name,

 5   address, date of birth, Social Security number, driver’s license

 6   number, telephone number, account number, email address, or personal

 7   identification number.

 8               c.    “Medical Materials” includes any individually

 9   identifiable health information that is connected to a patient’s

10   name, address, or other identifying number, such as a Social

11   Security number or Medicare/Medi-Cal number.

12               d.    “Confidential Information” refers to any document or

13   information containing CW Materials, PII Materials, or Medical

14   Materials that the government produces to the defense pursuant to

15   this Protective Order and any copies thereof.

16               e.    “Defense Team” includes (1) defendants’ counsel of

17   record (“defense counsel”); (2) other attorneys at defense counsel’s

18   law firm who may be consulted regarding case strategy in this case;

19   (3) defense investigators who are assisting defense counsel with

20   this case; (4) retained experts or potential experts; and

21   (5) paralegals, legal assistants, and other support staff to defense

22   counsel who are providing assistance on this case.            The Defense Team

23   does not include defendants, defendants’ family members, or any

24   other associates of defendants.

25               f.    The government is authorized to provide defense

26   counsel with Confidential Information marked with the following

27   legend: “SUBJECT TO PROTECTIVE ORDER.”         The government may put that

28   legend on the digital medium (such as DVD or hard drive) or simply

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 1   label a digital folder on the digital medium to cover the content of

 2   that digital folder.      The government may also redact any PII

 3   contained in the production of Confidential Information.

 4               g.     If any defendant objects to a designation that

 5   material contains Confidential Information, the parties shall meet

 6   and confer.      If the parties cannot reach an agreement regarding the

 7   defendant’s objection, the defendant may apply to this Court to have

 8   the designation removed.

 9               h.     Defendants and the Defense Team shall use the

10   Confidential Information solely to prepare for any pretrial motions,

11   plea negotiations, trial, and sentencing hearing in this case, as

12   well as any appellate and post-conviction proceedings.

13               i.     The Defense Team shall not permit anyone other than

14   the Defense Team to have possession of Confidential Information,

15   including defendants, while outside the presence of the Defense

16   Team.

17               j.     Notwithstanding the above, defendants may see and

18   review CW Materials only in the presence of the Defense Team, and

19   the Defense Team shall ensure that defendants are never left alone

20   with any CW Materials.      At the conclusion of any meeting with

21   defendants at which defendants are permitted to view CW Materials,

22   defendants must return any CW Materials to the Defense Team, who

23   shall take all such materials with them.          Defendants may not take

24   any CW Materials out of the room in which defendants are meeting

25   with the Defense Team.      At no time, under no circumstance, will any

26   Confidential Information be left in the possession, custody, or

27   control of defendants, regardless of defendants’ custody status.

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 1               k.     Defendants may review PII Materials and Medical

 2   Materials only in the presence of a member of the Defense Team, who

 3   shall ensure that defendants are never left alone with any PII

 4   Materials or Medical Materials.        At the conclusion of any meeting

 5   with a defendant at which the defendant is permitted to view PII

 6   Materials or Medical Materials, the defendant must return any PII

 7   Materials or Medical Materials to the Defense Team, and the member

 8   of the Defense Team present shall take all such materials with him

 9   or her.    Defendants may not take any PII Materials or Medical

10   Materials out of the room in which the defendant is meeting with the

11   Defense Team.

12               l.     Defendants may see and review Confidential

13   Information as permitted by this Protective Order, but defendants

14   may not copy, keep, maintain, or otherwise possess any Confidential

15   Information in this case at any time.         Defendants also may not write

16   down or memorialize any data or information contained in the

17   Confidential Information.

18               m.     The Defense Team may review Confidential Information

19   with a witness or potential witness in this case, including

20   defendants.      The Defense Team must be present whenever any CW

21   Materials are being shown to a witness or potential witness.              A

22   member of the Defense Team must be present if PII Materials or

23   Medical Materials are being shown to a witness or potential witness.

24   Before being shown any portion of Confidential Information, however,

25   any witness or potential witness must be informed of, and agree to

26   be bound by, the requirements of the Protective Order.            The Defense

27   Team shall maintain a written log of any witness or potential

28   witness who was shown any portion of Confidential Information.                No

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 1   member of the Defense Team shall permit a witness or potential

 2   witness to retain Confidential Information or any notes generated

 3   from Confidential Information.

 4               n.    The Defense Team shall maintain Confidential

 5   Information safely and securely, and shall exercise reasonable care

 6   in ensuring the confidentiality of those materials by (1) not

 7   permitting anyone other than members of the Defense Team,

 8   defendants, witnesses, and potential witnesses, as restricted above,

 9   to see Confidential Information; (2) not divulging to anyone other

10   than members of the Defense Team, defendants, witnesses, and

11   potential witnesses, the contents of Confidential Information; and

12   (3) not permitting Confidential Information to be outside the

13   Defense Team’s offices, homes, vehicles, or personal presence.              CW

14   Materials shall not be left unattended in any vehicle.

15               o.    To the extent that defendants, the Defense Team,

16   witnesses, or potential witnesses create notes that contain, in

17   whole or in part, Confidential Information, or to the extent that

18   copies are made for authorized use by members of the Defense Team,

19   such notes, copies, or reproductions become Confidential Information

20   subject to the Protective Order and must be handled in accordance

21   with the terms of the Protective Order.

22               p.    The Defense Team shall use Confidential Information

23   only for the litigation of this matter and for no other purpose.

24   Litigation of this matter includes any appeal filed by defendants

25   and any motion filed by defendants pursuant to 28 U.S.C. § 2255.                 In

26   the event that a party needs to file Confidential Information with

27   the Court or divulge the contents of Confidential Information in

28   court filings, the filing should be made under seal.            If the Court

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 1   rejects the request to file such information under seal, the party

 2   seeking to file such information publicly shall provide advance

 3   written notice to the other party to afford such party an

 4   opportunity to object or otherwise respond to such intention.              If

 5   the other party does not object to the proposed filing, the party

 6   seeking to file such information shall redact any CW Materials, PII

 7   Materials, or Medical Materials and make all reasonable attempts to

 8   limit the divulging of CW Materials, PII Materials, or Medical

 9   Materials.

10               q.    Any Confidential Information inadvertently produced

11   in the course of discovery prior to entry of the Protective Order

12   shall be subject to the terms of this Protective Order.             If

13   Confidential Information was inadvertently produced prior to entry

14   of the Protective Order without being marked “SUBJECT TO PROTECTIVE

15   ORDER,” the government shall reproduce the material with the correct

16   designation and notify defense counsel of the error.            The Defense

17   Team shall take immediate steps to destroy the unmarked material,

18   including any copies.

19               r.    If any Confidential Information contains both CW

20   Materials and another category of Confidential Information, the

21   information shall be handled in accordance with the CW Materials

22   provisions of this Protective Order.

23               s.    Confidential Information shall not be used by

24   defendants or any member of the defense team, in any way, in any

25   other matter, absent an order by this Court.           All materials

26   designated subject to the Protective Order maintained in the Defense

27   Team’s files shall remain subject to the Protective Order unless and

28   until such order is modified by this Court.          Within 30 days of the

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 1   conclusion of appellate and post-conviction proceedings, defense

 2   counsel shall return CW Materials to the government or certify that

 3   such materials have been destroyed.         At the conclusion of appellate

 4   and post-conviction proceedings, defense counsel shall return all

 5   PII Materials or Medical Materials, certify that such materials have

 6   been destroyed, or certify that such materials are being kept

 7   pursuant to the California Business and Professions Code and the

 8   California Rules of Professional Conduct.

 9               t.    In the event that there is a substitution of counsel

10   prior to when such documents must be returned, new defense counsel

11   must be informed of, and agree in writing to be bound by, the

12   requirements of the Protective Order before defense counsel

13   transfers any Confidential Information to the new defense counsel.

14   New defense counsel’s written agreement to be bound by the terms of

15   the Protective Order must be returned to the Assistant U.S. Attorney

16   assigned to the case.      New defense counsel then will become the

17   Defense Team’s custodian of materials designated subject to the

18   Protective Order and shall then become responsible, upon the

19   conclusion of appellate and post-conviction proceedings, for

20   (1) returning to the government, certifying the destruction of, or

21   retaining pursuant to the California Business and Professions Code

22   and the California Rules of Professional Conduct all PII Materials

23   or Medical Materials; and (2) returning to the government or

24   certifying the destruction of all CW Materials.

25               u.    Defense counsel shall advise defendants, or a

26   defendant’s court appointed custodian, and all members of the

27   Defense Team of their obligations under the Protective Order and

28   ensure their agreement to follow the Protective Order, prior to

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 1   providing defendants and members of the Defense Team with access to

 2   any materials subject to the Protective Order.

 3            IT IS SO ORDERED.

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 5     DATE                                       HONORABLE JOSEPHINE L. STATON
                                                  UNITED STATES DISTRICT JUDGE
 6

 7   Presented by:
 8
        /s/
 9     SCOTT PAETTY
       ALI MOGHADDAS
10     Assistant United States
       Attorneys
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